         Case: 4:16-cv-00144-DDN Doc. #: 124 Filed: 06/11/18 Page: 1 of 1 PageID #: 2388
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                      REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                            FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                             ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                  TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                      Eastern District of Missouri                            on the following
           Trademarks or            Patents . (       the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
    4:16-cv-00144-DDN                        2/4/2016                                        Eastern District of Missouri
PLAINTIFF                                                                  DEFENDANT
 Lawn Managers, Inc.                                                         Progressive Lawn Managers, Inc.



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1            4826435                        10/6/2015                                            Lawn Manager, Inc.

2            4189623                        8/14/2012                                            Lawn Mangers, Inc.

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                                 In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                             Amendment              Answer            Cross Bill            Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


           On June 11, 2018, a JUDGMENT ORDER was entered.

CLERK                                                      (BY) DEPUTY CLERK                                             DATE

    Gregory J. Longares                                     /s/ Katie Stamm                                              6/11/18
Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
